            Case 2:09-cr-00193-KJM Document 73 Filed 07/06/11 Page 1 of 3


     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)443-1165
     Email: Rusklaw@comcast.net
 4

 5
                        IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: 2:09-cr-00193 KJM
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,               ) STATUS CONFERENCE
10                                       )
          vs.                            ) Court: Hon. Kimberly Mueller
11                                       ) Time:   10:00 a.m.
                                         ) Date:   July 7, 2011
12   Leslie Miller Bell Jr.,             )
                                         )
13              Defendant
14

15

16

17        Defendant Leslie Bell, by and through his undersigned counsel,
18   and the United States of America, by and through Assistant United
19   States Attorney, Jill Thomas, request that this matter be continued
20   for a status conference to August 25, 2011 and that date is available
21   with the court.   Mr. Bell is charged in an indictment alleging three
22   counts of violations of 21 U.S.C. §§s 841(a)(1) – Possession of
23   Cocaine Base with Intent to Distribute.    A status conference was
24   previously set for July 7, 2011 and the parties requested a pre-plea
25   pre-sentence report.    That report has now been completed and it finds
26   that Mr. Bell is a career offender with a 294 month sentence
27   recommendation, nearly 25 years.    The abstracts of Mr. Bell’s prior
28   record led to his career offender designation.     Mr. Bell’s defense




                                         -1-
              Case 2:09-cr-00193-KJM Document 73 Filed 07/06/11 Page 2 of 3



 1   investigator has subpoenaed all of the court records on his relevant

 2   priors, in order to challenge the career offender recommendation.        The

 3   parties expect to have all the records prior to the next status

 4   conference which will allow for a possible resolution of this matter.

 5   The potential for resolution, without the career offender enhancement,

 6   increases exponentially.     The parties are actively involved in

 7   negotiations, but the prior records are essential to proceeding with a

 8   negotiated settlement.     The defense is also continuing its

 9   investigation and hopes to have additional information to provide to

10   the government. The parties request that the current status conference

11   be continued to August 25, 2011, and that date is available with the

12   Court.

13        The parties agree that time should be excluded under 18 U.S.C. §

14   3161(h)(8)(i) for defense preparation and under local code T4.

15
     Dated: July 6, 2011           Respectfully submitted,
16

17

18                                       __/s/ Shari Rusk___
                                         Shari Rusk
19                                       Attorney for Defendant
                                         Leslie Bell
20

21                                        /s/ Jill Thomas
                                         Jill Thomas
22                                       Assistant United States Attorney
23

24

25

26

27

28




                                           -2-
             Case 2:09-cr-00193-KJM Document 73 Filed 07/06/11 Page 3 of 3



 1                                      ORDER

 2

 3         IT IS SO ORDERED.   The status conference set for July 7, 2011 is

 4   vacated and reset for August 25, 2011 at 10:00 a.m. The Court finds

 5   the interest of justice served by granting this continuance outweigh

 6   the interest of the public and the defendant in a speedy trial and

 7   orders time excluded through August 25, 2011, based on Local Code T4,

 8   giving counsel reasonable time to prepare.

 9   DATED: July 6, 2011.

10
                                           UNITED STATES DISTRICT JUDGE
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                          -3-
